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 6    Nora E. Brennan, Seth H.Z. Fischer, Jeffrey L. Vacirca,
      Dolatrai M. Vyas, Bernice R. Welles, Stuart Krassner,
 7    Raymond W. Cohen, Anthony E. Maida, and
      Elizabeth A. Czerepak and for Nominal Defendant
 8    Spectrum Pharmaceuticals Inc
 9                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
10
       JEFFRY JOHNSON, Derivatively on Behalf          CASE NO. 2:22-CV-00538-JCM-NJK
11     of SPECTRUM PHARMACEUTICALS INC.,
12                 Plaintiff,
                                                       STIPULATION AND [PROPOSED]
13          v.                                         ORDER GRANTING DISMISSAL OF
                                                       PLAINTIFF’S VERIFIED DERIVATIVE
14     JOSEPH W. TURGEON, KURT A.                      COMPLAINT
       GUSTAFSON, FRANCOIS LEBEL,
15     WILLIAM L. ASHTON, NORA E.
       BRENNAN, SETH H.Z. FISCHER,
16     JEFFREY L. VACIRCA, DOLATRAI M.
       VYAS, BERNICE R. WELLES, STUART
17     KRASSNER, RAYMOND W. COHEN,
       ANTHONY E. MAIDA, and ELIZABETH A.
18     CZEREPAK,
19                 Defendants,
20          and
21     SPECTRUM PHARMACEUTICALS INC.,
22                 Nominal Defendant.
23

24           Plaintiff Jeffry Johnson (“Plaintiff”), derivatively and on behalf of nominal defendant
25    Spectrum Pharmaceuticals Inc. (“Spectrum” or the “Company”), and defendants Joseph W.
26    Turgeon, Kurt A. Gustafson, Francois Lebel, William L. Ashton, Nora E. Brennan, Seth H.Z.
27    Fischer, Jeffrey L. Vacirca, Dolatrai M. Vyas, Bernice R. Welles , Stuart Krassner, Raymond W.
28    Cohen, Anthony E. Maida, and Elizabeth A. Czerepak (“Defendants” and together with the Plaintiff
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 1    and Spectrum, the “Parties”) jointly submit this Stipulation (“Stipulation”), and in support thereof
 2    state as follows:
 3           WHEREAS, on March 29, 2022, Plaintiff filed the above-captioned action purportedly in
 4    the right, and for the benefit, of Spectrum against Defendants (the “Action”);
 5           WHEREAS, on or about July 31, 2023, Spectrum completed a merger transaction that
 6    resulted in Plaintiff no longer being a stockholder of the Company and, accordingly, no longer
 7    having standing to pursue derivative claims on the Company’s behalf; and
 8           WHEREAS, the Parties hereby certify that no compensation in any form has passed
 9    directly or indirectly to Plaintiff or its attorneys in the Action and no promise to give any such
10    compensation has been made;
11           IT IS HEREBY STIPULATED AND AGREED, by the parties hereto that pursuant to
12    Federal Rules of Civil Procedure 23.1(c) and 41(a), this Action is dismissed.
13    BRAGAR EAGEL & SQUIRE, P.C.                          PISANELLI BICE PLLC
14
      By:    /s/ Melissa A. Fortunato                      By:     /s/ Jordan T. Smith
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19           Las Vegas, Nevada 89134                       H.Z. Fischer, Jeffrey L. Vacirca, Dolatrai M.
                                                           Vyas, Bernice R. Welles, Stuart Krassner,
20    Attorneys for Plaintiff                              Raymond W. Cohen, Anthony E. Maida, and
                                                           Elizabeth A. Czerepak, and for Nominal
21                                                         Defendant Spectrum Pharmaceuticals Inc.
22           IT IS SO ORDERED.
23

24                                                 UNITED STATES DISTRICT COURT JUDGE
25
                                                   DATED:        November 14, 2024
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27                                                 CASE NO. 2:22-CV-00538-JCM-NJK
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